                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    LARRY CARTER                                 MAJOR TRIAL JURY
         PLAINTIFF                               DEMAND

    LESLIE DAVIS
          PLAINTIFF

    THE ESTATE OF
                                                      t8
                                                  CIVIL ACTION NO.
    TIFFANY CAPERS-ALLEN BY
    SHAWN ALLEN, ADMINISTRATOR
          PLAINTIFF

    SHARON AGBEDE
         PLAINTIFF

    TIARA COUNCIL
          PLAIN.TIFF

    CATHERINE MACKEY- GAITHER
         PLAINTIFF

    GREGORY GARNER
        PLAINTIFF

    JENNIFER JUBILEE
         PLAINTIFF

    ROCHELLE MORRIS
         PLAINTFF

    KIMBERLY RODRIQUEZ
         PLAINTIFF

              V.


    CITY OF PHILADELPHIA
          DEFENDANT



                                    CIVIL COMPLAINT




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                                      INTRODUCTION

     This action is brought by individuals who are currently employed and have been

employed in the last three years by the City of Philadelphia's Department of Behavioral

Health (hereinafter "DBH") in the Division of Mental Health/Disability Services,

(hereinafter "MHDS"), in particular the Acute Services Unit (hereinafter "Acute Unit'')

for purposes of obtaining relief under the Fair Labor Standards Act of 1938, as amended,

29 U.S.C. §201, et. seq. (hereinafter "FLSA") for unpaid overtime compensation,

liquidated damages, costs, attorneys' fees, declaratory and/or injunctive relief, and/or any

such other relief the Court may deem appropriate.

      The Plaintiffs are Mental Health Emergency Service Coordinators 2 (hereinafter

"Coordinator(s)") in DBH's Acute Unit. The Coordinators are required to work 8.5-hour

shifts at their office location. In addition, the Coordinators work mandatory overtime,

known as standby shifts, at night at their homes, and work overtime weekend hours, day

and night shifts from their home.

       When working from home, there are restrictions on their activities, they ~ust

answer the phone within three rings or be subject to discipline. The mandatory evening

and weekend work as structured results in many individuals working seven days a week

or working without a sufficient rest period. They are not even compensated at the

appropriate hourly rate for overtime, which should be 1.5 their hourly rate. It is not

uncommon for the Coordinators to work over 1.200 hours a year outside of their office

location.

       Defendant has willfully violated the FLSA by intentionally failing and refusing to

pay the Coordinators all compensation due them under the FLSA and its implementing
regulations over the last three years and this course of conduct continues to the present.

Defendant administers an unlawful compensation system that fails to provide appropriate

overtime compensation for work in excess of 40 hours, which is mandatory.

                                 JURISDICTION AND VENUE

1.     This Court has federal question jurisdiction of this matter pursuant to 28 U.S.C. §

1331

for claims brought under the FLSA, a federal statute.

2. Venue is appropriate as the events in question took place in this jurisdiction and the

parties reside in this jurisdiction.

                                           PARTIES

3. The Defendant, City of Philadelphia, (hereinafter "Defendant" or "City") is a

municipal corporation and a city of the first class, organized and existing under the laws

of the Commonwealth of Pennsylvania and is an employer within 29 U.S.C. §203(d), as a

political subdivision. The City employs the Coordinators named herein where they work

at the Acute Unit ofDBH, a public agency within the meaning of29 U.S.C. §203(x) and

is required to pay overtime compensation.

4. Plaintiff Larry Carter, has been employed for the last three years and continues to be

employed by the Defendant as a Coordinator 2, is an adult individual residing at 6236

Limekiln Pike, Philadelphia, Pa, 19141.

5. Plaintiff Leslie Davis, has been employed for the last three years and continues to be

employed by the Defendant as a Coordinator 2, is an adult individual residing at 3141

Weikel Street, Philadelphia, Pa 19134.

6. Plaintiff Estate of Tiffany Capers-Allen, brings this claim by Shawn Allen, her
husband,
who is the Administrator of her Estate. The address of the Administrator is 8447 Bayard
Street,

Philadelphia, Pa. 19150. The decedent, Tiffany Capers- Allen, was employed by the
Defendant,

until her death on January 18, 2018, as a Coordinator 2.

7. Plaintiff Sharon Agbede, has been employed for the last three years and continues to

be employed by the Defendant as a Coordinator 2, is an adult individual residing at 922

Friendship Street, Philadelphia, Pa. 19111.

8. Plaintiff Tiara Council, has been employed for the last three years and continues to be

employed by the Defendant as a Coordinator 2,.is an adult individual, residing at 6132
Old York

Road, Philadelphia, Pa. 19141. She has recently been promoted from a Coordinator 1 to
a

Coordinator 2.

9. Plaintiff Catherine Mackey-Gaither. has been employed for the last three years and
continues

to be employed by the Defendant as a Coordinator 2, is an adult individual residing at
9543

Walley Avenue, Philadelphia, Pa. 19115.

10. Plaintiff Gregory Garner, has been employed for the last three years and continues to
be

employed by the Defendant as a Coordinator 2, is an adult individual residing at 6311 N.

Garnet Street Philadelphia, Pa. 19141.

11. Plaintiff Jennifer Jubilee, has been employed for the last three years and continues to
be

employed by the Defendant as a Coordinator 2, is an adult individual residing at 724 E.

Dorset Street, Philadelphia, Pa. 19119.
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           12. Plaintiff Rochelle Morris, has been employed for the last three years and continues to
           be

           employed by the Defendant as Coordinator 2, is an adult individual residing at 2119 W.

           Ontario Street, Apt.I 3, Philadelphia, Pa. 19140.

           13. Plaintiff Kimberly Rodriquez, has been employed for the last three years and
           continues

           to be employed by the Defendant as a Coordinator 2, is an adult individual residing at

           1825 Afton Street, Philadelphia, Pa. 19111.




                                          FACTUALBACKGROL'ND

           A. General Background

           14. DBH, an agency of the City, has served the residents of Philadelphia by operating a

           call center for intervention for voluntary and involuntary commitment and also operates a

           suicide hotline on a 24/7 basis. The Acute Unit has two overall major functions (1) a

           phone-based suicide and crisis intervention help line and (2) a mental health emergency

           line. Coordinators answer both types of calls.

           15. During the relevant time period and continuing to the present, the Defendant has been

           engaged in interstate commerce by purchasing goods and services in commerce and

           engaged in commerce through the delivery of services.

           16. DBM has provided coverage for Philadelphia and the Commonwealth of

           Pennsylvania, through a 24-7 crisis hot-line, and since August 2017, this coverage has

           been expanded to include service for other states for which the Defendant City has

           received grant money.
17. Each Plaintiff has worked within the past three years for the City in their respective

capacities, as non-exempt FLSA employees. and have now or had the title of Mental

Health Coordinators 1 or 2.

18. The Acute Unit, with respect to suicide prevention, operates a 24/7 service by

manning a call-in service, which includes counseling, guidance on providers, as well as,

referrals for additional evaluative and treatment services and services have been

provided as part of the National Suicide Prevention Hotline staring in August of 2017.

19. The Coordinators in the Acute Unit provide a facilitative service to medical and

health care professionals, citizens, city workers, the general public, and other third parties

on matters pertaining to mental health commitments, referral services, and ensure that

regulations are complied with concerning mental health commitments. In addition, the

Coordinators provide community outreach by lecturing groups concerning mental health

procedures and suicide prevention.

20. The Coordinators working on involuntary commitments are known as delegates.

Callers to this line include a family member, a relative, a friend or other persons who

seek help to address emotional or mental health issue, including for substance abuse, for

third parties. Also, hospitals or physicians who are seeking information to obtain

assistance in facilitating services for individuals make calls to the Coordinators.

21. The Coordinators, who are delegates, work with callers to help assess the situation

over the phone and to provide helpful information and/or to facilitate the provision of

services in a variety

of ways through direct access to crisis response centers, crisis specialists, and crisis

residential services, all of which operate 24/7. The Coordinators also assess the situation
over the phone to approve or disapprove a request for an involuntary commitment based

on the stipulations as set forth in the Mental Health Procedures Act.

22. The Coordinators, fill out necessary paper work for involuntary commitments,

dispatch mobile teams or the police to a location where they are needed; do research on at

risk individual by searching data bases for prior mental health history; collect and enter

data into a computer data base; and fill out forms for the Life Line and National Suicide

Prevention Hotline.

23.    Cases that are unique or exceptional are addressed with a supervisor during the

day,

on weekends and on standby shifts.

24     Coordinators are not exempt under the FLSA, as no special educational

requirements exist and there are no licensing requirements for this position.

25. After being hired, the Coordinators who come into this position with no professional

training, then undergo six months of training on mental health guidelines for commitment

and suicide prevention training. They also received training in how to handle the national

suicide prevention line.

26. The main difference between a Coordinator 1 and 2, is that the individual in the

Coordinator 2 position may provide guidance to a lower level coordinator.

27. The. department is comprised of 14 individuals, who are in the position of

Coordinators, and three supervisors who are stationed at 8th and Market.

28. The Coordinators in the unit are required to work straight time for 8.5 hours a day at

their location at 8th and Market. There are two shifts. The morning starts times are

staggered to start at half hour intervals beginning at 7:30 A.M. to 9:00 A.M. The second

shift starts at 4:00 P.M. or 4:30 to 12:30 A. M. to 1:00 A.M.
,·




     29.   The Coordinators are required to sign in at the beginning of the shift, sign in and out

     for lunch, and sign out at the end of the day. If the Coordinator does not follow the sign in

     or out procedures he or she can be subject to progressive discipline.

     30.   Coordinators are required to sign out for lunch even if they do not take the allotted

     hour lunch time. The Coordinators are assigned one-hour lunch times; however, lunch is

     not always possible because of the nature of the calls that they are handling.

     31. A Coordinator is permitted two fifteen-minute breaks a day, however, if they go to

     the restroom or leave the area at any other time they must tell the Acute Unit Supervisor

     when they are leaving and when they will return.

     32.   A Coordinator does not always leave their shift at the scheduled end time or at the

     same time each day when working from home or the office. A Coordinator cannot end

     their shift until they are relieved or a call is finished, however, the reporting time is not

     changed for the Coordinator's next shift.

     33.   A Coordinator who works a night standby shift (Sunday through Thursday) that

     ends at 7:30 A.M. is still required to be at the office for the start of their day shift which

     can start anytime between 7:30 and 9:00, due to staggered start times for the first shift. If

     an employee arrives 14 minutes late for the beginning of the shift they are docked pay.

     Alternatively, they can take vacation time or they must make the time up at the end of

     their work location shift.

     34. Depending on when the Coordinator's night shift ends and their mandatory arrival

     time for the next morning, a Coordinator may have to come in earlier or stay as much as

     one hour to make up the time. Even if the Coordinator has a night standby assignment,

     they must make up the time on the same day to avoid being disciplined or having to use

     vacation time.
35. The Coordinators also go out to the community to make presentations to heighten

the community's awareness as to the services that are available and to raise recognition

as to the

signs of a suicidal individual or an individual who needs crisis intervention. This is

beyond the normal office hours and for this they are paid time and a half.

B. 24/7 Operation

36.   The City has organized the Acute Unit to operate 24/7. When hired, the applicants

for the

Coordinator positions were told that overtime was mandatory.

37. When they were hired, the Coordinators, with the exception of Larry Carter and

Leslie Davis, were required to sign an overtime contract, however, those who signed the

contract were not allowed to have a copy.

38. Overtime takes several forms (1) volunteer outreach for which an employee is paid at

time and a half, (2) the hours between 12:30 A.M. and 7:30 A.M. which are called

standby time. and (3) week-end shift work, (Saturday, Sunday and holidays) comprised

of three shifts, which are 8:30 A.M. to 4:30 P.M., 4:30 P.M to 12:30 A.M. and 12:30

A.M. to 8:30 A.M.

39. When working evenings or weekends, an employee must contact the person they are

reliving at least fifteen minutes before their shift begins. There are times a worker must

stay on beyond the end of their shift to complete a call or because thy are unable to reach

their relief.

40. Assignments for standby time and week-end coverage are made on a rotating basis

based on an alphabetical listing of the employees. The Coordinators who wish to change
are required to find coverage for their mandatory overtime shift work from home and

this includes coverage during vacation time.

41. In addition, there may also be instances in which the Coordinators are required to

work additional over-time for special events such as the Papal visit or work from home

when other City personnel have the day off due to weather or other extreme conditions.

42. On weather days, when the rest of the City is closed and other City employees

cannot work, the Coordinators are required to work their normal 8.5hour day or night

shift at home. If they are unable to work from home they must provide a doctor's note or

they can be docked pay or be disciplined.

43.   After working a shift at the office, a Coordinator may have to work all night, report

to the office the next day and they can be subject to discipline if they are late. If they

arrive 14 minutes late they are required to make the time up the same day or they must

take vacation time to avoid leaving the office late for their next work assignment, as

sometimes happens when there is a standby shift for which they must be on time.

44. It is not uncommon for an employee to work during the day, have standby night

work during the week and also work both Saturday and Sunday.

45. This work cycle results in many Coordinators going several days without time off

and working two or more weekends a month.

46. During the day, the Coordinators deal with voluntary and involuntary commitments

and now also answer a crisis hot-line for suicide prevention. Initially, the Coordinators

were assigned to either the Delegate Line or the Suicide Line, however that changed for

both work in the office and at home.
47. At night and on weekends, prior to August 2017, the Coordinators duties were

previously limited to handling one line for voluntary and involuntary commitments or the

suicide line and now they are directed to answer both types of calls at night.

48. Commencing in August 2017, the Coordinators took on additional duties and now can

have a call come in on one of three lines which are voluntary and involuntary

commitments, the local suicide prevention line, called the Lifeline, and they are now also

required to answer the National Suicide prevention line, which is a suicide prevention

line from other states. This has increased their workload.

49. While working at home, the Coordinators are expected to log in calls and keep

materials at hand that they would have in the office including laws, regulations,

guidelines, and anything unusual should be directed to a supervisor. They are required to

have a quiet and professional atmosphere at home.

50. The Coordinators, when working from home are required to answer the phone call

within three rings, or less than six seconds, or they can be disciplined. This discipline

includes losing future income from working at home.

51. If a sudden emergency arises when there is a home assignment and coverage cannot

be obtained, the Coordinator may be required to take vacation time or sick time and if a

doctor's note is not provided they can be subject to discipline.

52. The City, prior to August 2017, provided to the Coordinator's a landline and a

rotary dial phone which was paid for by the City. Commencing in August 2017, the

Plaintiffs were required to pay for their own equipment including obtaining internet

service if none was in the household, as well as incurring extra charges for data and

related increased electrical expenses.
53. The Coordinators are required to have an internet connection via a modem and many

of the Coordinators wear a headset with a cord attached to the computer nearby for access

at night and weekends to be close to the modem.

54. Some of the Coordinators sleep in a chair near the computer so that they do not

disturb

their spouses or children and so they can answer the phone in the requisite three rings.

55. The number of phone calls have increased substantially in the last three years, in

first three months of 2018, the Coordinators handled roughly 14,000 calls.

56. When working outside of the office, the Coordinators take a phone line to start their

shift. In the morning, the phone line for a standby shift is released back to the office

location. A timesheet must be turned in the next business day.

C. Record Keeping

57. The time sheets must be turned in the next business day to the standby supervisor,

however, pursuant to office rules it is the Coordinator who is responsible for keeping

their time.

58. The standby supervisor than provides the Coordinator's time to the DBH personnel.

These individuals in turn provide this to the City's central payroll department so that a

check is cut from a central payroll location.

59. The paychecks do not reflect the overtime worked in the pay period, as frequently the

overtime includes only Thursday and not Friday, Saturday or Sunday of a pay period. At

times, the pay check may be off by more than 20 hours.

60. The Coordinators have attempted to clarify the overtime due and are not provided

any assistance by their timekeeper or the central payroll department. The amount paid in
the check does not even provide an indication as to what dates the overtime pay

corresponds to making it impossible to reconcile by yourself.

61. The manner in which payment is made violates 29 C.F.R.§ 778.106 and precedent in

this

Circuit which requires payment to be made in the pay period unless it is not feasible.

D. Overtime Pay

62. Plaintiffs frequently work seven days a week but are not compensated at time and a

half based on their salary and instead are paid a flat $21.14 an hour.

63. On an average the Coordinators work 1,200 overtime hours a year, which includes

the mandatory standby overtime and weekend shifts.

64. The City, the DBH and the Acute Unit are aware of the practice of not paying the

proper

rate of overtime to the Coordinators as each level receives the total number of overtime

worked.

65. The Coordinators are ultimately paid by the Defendant's payroll department and are

issued a check by the Defendant City.

66. Pursuant to FLSA 29 U.S.C. § 207(a)(l), Defendant violates FLSA overtime

requirements by failing to provide compensation to the Coordinators for work in excess

of 40 hours a week during the pay periods that overtime is worked and should be

compensated at time and a half.

67. Defendant has knowledge that the Coordinators performed work that required

payment of wages and overtime compensation and continues to disregard the law. This

continues to deprive these employees of the requisite compensation due by illegally

paying them at a rate ofless than one and halftimes their salary.
68. The City and DBH record the overtime worked and pay for said over-time at rate that

is less than time and a half and the check issued even fails to compensate the Coordinator

in the pay period that they earned overtime.

69. Defendant's conduct, as set forth in this complaint, was willful and in bad faith, and

has caused significant damages to each of the Coordinators identified in this Complaint.

                                    COUNT
ONE
                                  LARRY
CARTER
                      FAIR LABOR STANDARDS ACT VIOLATION

70. Plaintiff Larry Carter is a party to whom wages are owed as the overtime provisions

of the FLSA have been violated, and he incorporates by reference as though fully set
forth herein

Paragraphs 1 to 69.

71. It is mandatory for Larry Carter to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at all in the
appropriate pay

period.

72. On the average, Larry Carter works 24 hours of overtime in a week. The standby
time

and weekend work which averages 24 hours a week is compensated at $21.14 which
does not

even equal his hourly rate.

73. The overtime for which the Larry Carter has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

74. Larry Carter estimates that he works 1,200 hours a year for which he is not properly
compensated for overtime.

75. Defendant has repeatedly failed to comply with the overtime provisions of 29 U. S.

C.
§ 5207 of the FLSA by failing to pay him time and one-half of his regular rate for hours

worked in excess of forty (40) hours per week; and moreover, Defendant has not paid

these amounts in a timely manner.

76. Defendant's acts were willful, as Defendant knew, or should have known ofFLSA's

requirements.

77. Plaintiff Larry Carter is entitled to damages incurred within the three years preceding

the filing of the Complaint and continuing to the present, because Defendant acted

willfully and knew or should have known or displayed reckless disregard as to whether

its conduct was prohibited by the FLSA.

78. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Larry

Carter is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

79. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid .

80. As a result of the aforesaid willful violations of the FLSA's overtime pay provisions,

overtime compensation has been unlawfully withheld by Defendant from Plaintiff.
Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an additional

amount as liquidated damages, pre-judgment and post-judgment interest, other monetary

damages, reasonable attorneys' fees and expenses, and costs of this action.

     Wherefore, Plaintiff Larry Carter demands judgment in his favor.

                                      COUNT
TWO
                                      LESLIE
DAVIS
                        FAIR LABOR STAND ARDS ACT VIOLATION

81 Plaintiff Leslie Davis is a party to whom wages are owed as the overtime provisions

of the FLSA have been violated, and she incorporates by reference as though fully set
forth herein

Paragraphs 1 to 69.

82. It is mandatory for Leslie Davis to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at all in the
appropriate pay

period.

83. On the average, Leslie Davis works 24 hours of overtime in a week. The standby
time

 and weekend work which averages 24 hours a week is compensated at $21.14 which
does not

even equal her hourly rate.

84. The overtime for which the Leslie Davis has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

85. Leslie Davis estimates that she works 1,200 hours a year for which she is not
properly

compensated for overtime.
86. Defendant has repeatedly failed to comply with the overtime provisions of 29 U. S.

C

§ 5207 of the FLSA by failing to pay her time and one-half of her regular rate for hours

worked in excess of forty (40) hours per week; and moreover, Defendant has not paid

these amounts in a timely manner.

87. Defendant's acts were willful, as Defendant knew, or should have known ofFLSA's

requirements.

88. Plaintiff Leslie Davis is entitled to damages incurred within the three years preceding

the filing of the Complaint and continuing to the present, because Defendant acted

willfully and knew, or should have known or displayed reckless disregard as to whether

its conduct was prohibited by the FLSA.

89. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Leslie

Davis is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

90. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid.

91.    As a result of the aforesaid willful violations of the FLSA's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from

Plaintiff. Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an
additional amount as liquidated damages, pre-judgment and post-judgment interest, other

monetary damages, reasonable attorneys' fees and expenses, and costs of this action.

       Wherefore, Plaintiff Leslie Davis demands judgment in her favor.

                                COUNT
THREE
                                  ESTATE OF
                           TIFFAA'Y CAPERS-
ALLEN,
                           BY HER
ADMINISTRATOR
                                SHAWN
ALLEN
                    FAIR LABOR STANDARDS ACT VIOLATION

92.  Plaintiff Estate of Tiffany Capers-Allen. Deceased, brings this claim by the
Administrator

of her Estate, Shawn Allen. The decedent's estate is a party to whom wages are owed as
the

overtime provisions of the FLSA have been violated, and the Plaintiff incorporates by
reference

as though fully set forth herein Paragraphs 1 to 69.

93. It was mandatory for the Decedent to work overtime, however, all time she worked
was

not compensated for at time and a half, and many hours worked were not compensated at
all in

the appropriate pay period.

94. On the average, the Decedent worked 24 hours of overtime in a week. The standby
time and

weekend work which averaged 24 hours a week was compensated at $21.14 which did
not even

equal her hourly rate.

95. The overtime for which the Decedent had worked and had not been properly
compensated
also included holidays, special events and snow emergencies.

96. It is estimated that the Plaintiff worked 1,200 hours a year for which she was not
properly

compensated for overtime.

97. Defendant has repeatedly failed to comply with the overtime provisions of 29 U. S.

C.

§5207 of the FLSA by failing to pay the Plaintiff time and one-half of her regular rate

for hours worked in excess of forty (40) hours per week; and moreover, Defendant has

not paid these amounts in a timely manner.

98. Defendant's acts were willful, as Defendant knew, or should have known of FLSA's

requirements.

99. The Plaintiff Decedent's estate is entitled to damages incurred within the three years

preceding the filing of the Complaint, because Defendant acted willfully and knew, or

should have known, or displayed reckless disregard as to whether its conduct was

prohibited by the FLSA

100. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof,

Decedent's estate is    entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

101.   Alternatively, should the Court find Defendant did not act willfully in failing to

pay overtime pay, the Decedent's estate is entitled to an award of prejudgment interest at

the applicable legal rate.

102.    AB a result of the aforesaid willful violations of the FLSA's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from the
decedent. Accordingly, Defendant is liable under 29 G.S.C. § 216(b), together with an

additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

   Wherefore, Plaintiff Estate of Tiffany Capers-Allen brought by her Administrator

Shawn Allen demands judgment in her favor.

                                  COUNT
FOUR
                                SHARON
AGBEDE
                      FAIR LABOR STANDARDS ACT VIOLATION

103. Plaintiff Sharon Agbede is a party to whom wages are owed as the overtime
provisions of

the FLSA have been violated, and she incorporates by reference as though fully set forth
herein

Paragraphs 1 to 69.

104. It is mandatory for Sharon Agbede to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at all in the
appropriate pay

period.

105. On the average, Sharon Agbede works 24 hours of overtime in a week. The
standby time

and weekend work which averages 24 hours a week is compensated at $21.14 which
does not

even equal her hourly rate.

106. The overtime for which Sharon Agbede has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.
107. Sharon Agbede estimates that she works 1,200 hours a year for which she is not
properly

compensated for overtime.

108. Defendant has repeatedly failed to comply with the overtime provisions of 29 U.

S.C.§ 5207 of the FLSA by failing to pay her time and one-half of her regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

109. Defendant's acts were willful, as Defendant knew, or should have known ofFLSA's

requirements.

110. Plaintiff   Sharon Agbede is entitled to damages incurred within the three years

preceding the filing of the Complaint and continuing to the present, because Defendant

acted willfully and knew, or should have known or displayed reckless disregard as to

whether its conduct was prohibited by the FLSA.

111. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Sharon

Agbede is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

112. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid

113.    As a result of the aforesaid willful violations of the FLSA 's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from
Plaintiff. Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an

additional amount as liquidated damages, pre-judgment and post-judgment interest, other

monetary damages, reasonable attorneys' fees and expenses, and costs of this action.

  Wherefore, Plaintiff Sharon Agbede demands judgment in her favor.

                                   COUNT
FIVE
                                   TIARA
COUNCIL
                          FAIR LABOR STANDARDS ACT VIOLATION

114.    Plaintiff Tiara Council is a party to whom wages are owed as the overtime
provisions of

the FLSA have been violated, and she incorporates by reference as though fully set forth
herein

Paragraphs 1 to 69.

115. It is mandatory for Tiara Council to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at all in the
appropriate pay

period.

116. On the average, Tiara Council works 24 hours of overtime in a week. The standby
time and

weekend work which averages 24 hours a week is compensated at $21.14 which does not
even

equal her hourly rate.

117. The overtime for which Tiara Council        has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

118. Tiara Council estimates that she works 1,200 hours a year for which she is not
properly
compensated for overtime.

119. Defendant has repeatedly failed to comply with the overtime provisions of 29 U.S.

C. § 5207 of the FLSA by failing to pay Plaintiff time and one-half of her regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

120. Defendant's acts were willful, as Defendant knew, or should have known of FLSA's

requirements.

121. Plaintiff Tiara Council is entitled to damages incurred within the three years

preceding the filing of the Complaint and continuing to the present, because Defendant

acted willfully and knew, or should have known or displayed reckless disregard as to

whether its conduct was prohibited by the FLSA.

122. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Tiara

Council    is   entitled to recover an award of liquidated damages in an amount equal to

the amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

123.   Alternatively, should the Court find Defendant did not act willfully in failing to

pay overtime pay, Plaintiff is entitled to an award of prejudgment interest at the

applicable legal rate, as well as declaratory judgment finding the practice illegal for

future pay periods and require the Defendant to pay overtime in the pay period it is

accrued and to provide sufficient information on the pay check to indicate the hours that

are being paid.

124.      As a result of the aforesaid willful violations of the FLSA's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from
Plaintiff Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an

additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

     Wherefore, Plaintiff Tiara Council demands judgment in her favor.

                            COUNT SIX
                   CATHERINE MACKEY-
GAITIIER
                        FAIR LABOR STAND ARDS ACT VIOLATION



125. Plaintiff Catherine Mackey-Gaither is a party to whom wages are owed as the
overtime

 provisions of the FLSA have been violated, and she incorporates by reference as though
fully set

forth herein Paragraphs 1 to 69.

126. It is mandatory for the Catherine Mackey-Gaither to work overtime, however, all
time is

 not compensated for at time and a half, and many hours worked are not compensated at
all in

the appropriate pay period.

127. On the average, Catherine Mackey-Gaither works 24 hours of overtime in a week.
The

standby time and weekend work which averages 24 hours a week is compensated at
$21.14 which

does not even equal her hourly rate.

128. The overtime for which Catherine Mackey-Gaither has worked and has not been
properly

compensated also includes holidays, special events and snow emergencies.

129. Catherine Mackey-Gaither estimates that she works 1,200 hours a year for which
she is not
properly compensated.

130. Defendant has repeatedly failed to comply with the overtime provisions of 29 U. S.

C. §5207 of the FLSA by failing to pay Plaintiff time and one-half of her regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

131. Defendant's acts were willful, as Defendant knew, or should have known of FLSA's

requirements.

132. Plaintiff Catherine Mackey-Gaither is entitled to damages incurred within the three

years preceding the filing of the Complaint and continuing to the present, because

Defendant acted willfully and knew, or should have known or displayed reckless

disregard as to whether its conduct was prohibited by the FLSA.

133. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof,

Catherine Mackey-Gaither is entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid overtime pay as permitted by 29 U.S.C. § 2I6(b).

134. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid.

135.    As a result of the aforesaid willful violations of the FLSA's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from

Plaintiff Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an
additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

   Wherefore, Plaintiff Catherine Mackey-Gather demands judgment in her favor.

                                  COUNT
SEVEN
                                GREGORY
GARNER
                      FAIR LABOR STAND ARDS ACT VIOLATION

136. Plaintiff Gregory Gamer is a party to whom wages are owed as the overtime
provisions

of the FLSA have been violated, and he incorporates by reference as though fully set
forth herein

Paragraphs 1 to 69.

137. It is mandatory for Gregory Gamer to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at all in the
appropriate pay

period.

138.    On the average, Gregory Gamer works 24 hours of overtime in a week. The
standby time

and weekend work which averages 24 hours a week is compensated at $21.14 which
does not

even equal his hourly rate.

139. The overtime for which Gregory Gamer has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

140. Gregory Gamer estimates that he works 1,200 hours a year for which he is not
properly

compensated for overtime.
141. Defendant has repeatedly failed to comply with the overtime provisions of 29

U.S.C. § 5207 of the FLSA by failing to pay him time and one-half of his regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

142.     Defendant's acts were willful, as Defendant knew, or should have known of

FLSA's

requirements.

143. Plaintiff Gregory Garner is entitled to damages incurred within the three years

preceding the filing of the Complaint and continuing to the present, because Defendant

acted willfully and knew, or should have known or displayed reckless disregard as to

whether its conduct was prohibited by the FLSA.

144. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Gregory

Garner is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

145. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid .

146.    As a result of the aforesaid willful violations of the FLSA 's overtime pay

provisions, overtime compensation bas been unlawfully withheld by Defendant from

Plaintiff.   Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an
additional amount as liquidated damages, pre-judgment and post-judgment interest, other

monetary damages, reasonable attorneys' fees and expenses, and costs of this action.

   Wherefore, Plaintiff Gregory Gamer demands judgment in his favor.

                                     COUNT
EIGHT
                                   JENNIFER
JUBILEE
                         FAIR LABOR STANDARDS ACT VIOLATION

147. Plaintiff Jennifer Jubilee     is a party to whom wages are owed as the overtime
provisions

of the FLSA have been violated, and she incorporates by reference as though fully set
forth herein

Paragraphs 1 to 69.

148. It is mandatory for Jennifer Jubilee to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at the overtime rate at
all in

the appropriate pay period.

149. On the average, Jennifer Jubilee works 24 hours of overtime in a week.            The
standby time

and weekend work which averages 24 hours a week is compensated at $21.14 which
does not even

equal her hourly rate.

150. The overtime for which Jennifer Jubilee      has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

151. Jennifer Jubilee    estimates that she works 1,200 hours a year for which she is not
properly

compensated.
152. Defendant has repeatedly failed to comply with the overtime provisions of 29 U.S.

C. §5207 of the FLSA by failing to pay Plaintiff time and one-half of her regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

153. Defendant's acts were willful, as Defendant knew, or should have known of FLSA's

Requirements.

154. Plaintiff Jennifer Jubilee is entitled to damages incurred within the three years

preceding the filing of the Complaint and continuing to the present, because Defendant

acted willfully and knew, or should have known or displayed        reckless disregard as to

whether its conduct was prohibited by the FLSA.

155. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof, Jennifer

Jubilee is entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

156. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid.

157.   As a result of the aforesaid willful violations of the FLSA's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from

Plaintiff Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an
additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

     Wherefore, Plaintiff Jennifer Jubilee demands judgment in her favor.

                                    COUNT
NINE
                                 ROCHELLE
MORRIS
                        FAIR LABOR STANDARDS ACT VIOLATION

158. Plaintiff Rochelle Morris is a party to whom wages are owed as the overtime
provisions

of the FLSA have been violated, and she incorporates by reference as though fully set
forth

herein Paragraphs I to 69.

159. It is mandatory for Rochelle Morris      to work overtime, however, all time is not
compensated

for at time and a half, and many hours worked are not compensated at the overtime rate at
all

in the appropriate pay period.

160. On the average, Rochelle Morris works 24 hours of overtime in a week.           The
standby time

and weekend work which averages 24 hours a week is compensated at $21.14 which
does not

even equal her hourly rate.

161. The overtime for which Rochelle Morris        has worked and has not been properly
compensated

also includes holidays, special events and snow emergencies.

162. Rochelle Morris estimates that she works 1,200 hours a year for which she is not
properly

compensated.
. ,,




       163. Defendant has repeatedly failed to comply with the overtime provisions of 29 U.S.

       C.

       §5207 of the FLSA by failing to pay Plaintiff time and one-half of her regular rate for

       hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

       paid these amounts in a timely manner.

       164. Defendant's acts were willful, as Defendant knew, or should have known ofFLSA's

       requirements.

       165. Plaintiff Rochelle Morris is entitled to damages incurred within the three years

       preceding the filing of the Complaint and continuing to the present, because Defendant

       acted willfully and knew,

       or should have known or displayed reckless disregard as to whether its conduct was

       prohibited by the FLSA.

       166. Defendant has not acted in good faith or with reasonable grounds to believe that its

       actions and omissions were not a violation of the FLSA, and as a result thereof, Rochelle

       Morris is entitled to recover an award of liquidated damages in an amount equal to the

       amount of unpaid overtime pay as permitted by 29 U .S.C. § 2 l 6(b).

       167. Alternatively, should the Court find Defendant did not act willfully in failing to pay

       overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

       legal rate, as well as declaratory judgment fmding the practice illegal for future pay

       periods and require the Defendant to pay overtime in the pay period it is accrued and to

       provide sufficient information on the pay check to indicate the hours that are being paid.

       168.   As a result of the aforesaid willful violations of the FLSA's overtime pay

       provisions, overtime compensation has been unlawfully withheld by Defendant from
Plaintiff.   Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an

additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

     Wherefore, Plaintiff Rochelle Morris demands judgment in her favor.

                                      COUNT
TEN
                              KIMBERLY
RODRIQUEZ
                         FAIR LABOR STANDARDS ACT VIOLATION

169. Plaintiff Kimberly Rodriquez is a party to whom wages are owed as the overtime
provisions

of the FLSA have been violated, and she incorporates by reference as though fully set
forth herein

Paragraphs 1 to 69.

170. It is mandatory for Kimberly Rodriquez to work overtime, however, all time is not

 compensated for at time and a half, and many hours worked are not compensated at the
overtime

rate at all in the appropriate pay period.

171. On the average, Kimberly Rodriquez works 24 hours of overtime in a week. The
standby

time and weekend work which averages 24 hours a week is compensated at $21.14
which does

not even equal her hourly rate.

172. The overtime for which Kimberly Rodriquez has worked and has not been properly

compensated also includes holidays, special events and snow emergencies.

173 .. Kimberly Rodriquez estimates that she works 1,200 hours a year for which she is
not

properly compensated.
174. Defendant has repeatedly failed to comply with the overtime provisions of 29 U. S.

C.
§ 5207 of the FLSA by failing to pay Plaintiff time and one-half of her regular rate for

hours worked in excess of forty (40) hours per week; and moreover, Defendant has not

paid these amounts in a timely manner.

175. Defendant's acts were willful, as Defendant knew, or should have known of FLSA's

requirements.

176. Plaintiff Kimberly Rodriquez is entitled to damages incurred within the three years

preceding the filing of the Complaint and continuing to the present, because Defendant

acted willfully and knew, or should have known or displayed reckless disregard as to

whether its conduct was prohibited by the FLSA.

177. Defendant has not acted in good faith or with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result thereof,

Kimberly Rodriquez is entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime pay as permitted by 29 U.S.C. § 216(b).

178. Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff is entitled to an award of prejudgment interest at the applicable

legal rate, as well as declaratory judgment finding the practice illegal for future pay

periods and require the Defendant to pay overtime in the pay period it is accrued and to

provide sufficient information on the pay check to indicate the hours that are being paid.

179.    As a result of the aforesaid willful violations of the FLSA 's overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from

Plaintiff Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together with an
additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys' fees and expenses, and costs of this action.

     Wherefore, Plaintiff Kimberly Rodriquez demands judgment in her favor.

                                                             RESPECTFULLY

SUMBITTED,




                                                     HOWARD K. TRUBMA.."l', ESQ

                                                     The Employment Law Firm of

                                                      Suite 1209

                                                      Philadelphia Pa

                                                      Phone 215 2065306

                                                     htrubman@gmail.com ..
.   JSM (Rev 06/1 7)
                                                                                    CIVIL COVER SHEET
    The JS 44 ciVJl cover sheet and the mformanon contmned herem neither replace nor supplement the fihng and serVJce of pleadm!f-i or other papers as reqwred by law, except as
    provided by local rules of court ThJS form, approved by the Judicial Conference of the Umted States ID September 1974, 1s required for the use of the Clerk of Court for the
    purpose of IDJtlatmg the CJV!l docket sheet. (SEE /NSJ'RUCTIONS ON NEXT PAGE OF 1HIS FORM)
    I. (a) PLAINTIFFS
                                                                                                                     cifyE~~~lti~a
        ~arry Carter, Leslie Davis et al                                                                             1515 Arch Street
                                                                                                                     Phila., PA 19102
          (b)                                                                            hla                          County of Residence of Frrst Listed Defen

                                                                                                                      NOTE


          (C) Attorneys (Firm Name, Address, and Tel             ne N                                                  Attorneys (If Known)
        Howard K. Trubman, Esq. Employme            irm of Pennsylvania
        1500 Market St., East Tower, Phila., PA 19102
        215-206-5306

    D. BASIS OF JURIS                   CTION (Placean"X"inOneBaxOnly)                                    ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintilf
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    VIII. RELATED CASE(S)
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                IF ANY                                                       JUDGE
    DATE                                                                         SIONA I'URB OF AITORNEY OF RECORD
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RELATED CASE, IF ANY:

Case Number _ _ _ _ _ _ _ _                                        Judge: _ _ _ _ _ _ _                                         Date Terminated·

CiVIl cases are deemed related when Yes is answered to any ofthe following questions:

      Is this case related to property included in an earlier numbered suit pendmg or within one year                             YesD
      previously terminated action m this court?

2     Does this case mvolve the same issue of fact or grow out of the same transaction as a prior suit                            YesD
      pending or within one year previously termmated action in this court?

3     Does this case involve the validity or infringeme           ent already m suit or                                           YesO
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4.    Is this case a second or     ess1ve habeas corpus, social security appeal, or prose civil nghts
                            e individual?

I certify that, my knowledge, the withm case              D   is
this court cept as noted above.

         ___ \o\ti.hr__ _
                                                                                                                                           Attorney ID   #   (if apphcable)


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A.

0                                                                                         0        1.     Insurance Contract and Other Contracts
0                                                                                         0        2.     Airplane Personal Injury
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                                                                            ARBITRATION CERTIFICATION
                                                              of this certzficatzon zs to remove the case from eltgzbthty for arb1trat1on)

                                                     __, counsel of record or prose plamt1ff, do hereby certify

                   rsuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable m this civil action case
                    eed the sum of $150,000 00 exclusive of mterest and costs.

                   ief other than monetary damages   IS   SOUghu.....- { ~                               1"11     t,..,°'f,<_



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                                                                         Attorney-at-Law I Pro Se Plaintiff                               Attorney ID # (if applzcable)

NOTE A trial de novo will be a tnal by Jury only 1f there has been compliance with F R C P 38

Civ 609 (512018)


                                                     OCT 12 2018
.
                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                            CASE MANAGEMENT TRACK DESIGNATION FORM
                 Larry Carter, Leslie Davis et al                                CIVIL ACTION
                               V.

                       City of Philadelphia
                                                                         18      NO.
    In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
    plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
    filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
    side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
    designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
    the plaintiff and all other parties, a Case Management Track Designation F onn specifying the track
    to which that defendant believes the case should be assigned.

    SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

    (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

    (b) Social Security -- Cases requesting review of a decision of the Secretary of Health
        and Human Services denying plaintiff Social Security Benefits.                                  ( )

    (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
    (d) Asbestos - Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                           ( )

    (e) Special Management - Cases that do not fall mto tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)

    (t) Standard Management- Cases that do not fall into any one of the other tracks.
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                                                                          Larry Carter, Leslie Davis et al
             10/8/2018                    Howard K Imbroau
    Date                                   Attorney-at-law '                 Attorney for

           215-206-530- - -                                                  htrubman@grnail.com

    Telephone                                 FAX Number                     E-Mail Address



    (Ov. 660) I 0/02
